98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rahim E.H. MUHAMMAD X, a/k/a Rahim X, Plaintiff-Appellant,v.F. TAYLOR;  Lieutenant Boyers;  Sergeant Smiley;  SergeantConnors;  Sergeant Santiago;  Doctor Lightner;Doctor Wong;  D. Swisher;  R.W. Byrd;C. Ailstock;  L. Saunders,Defendants-Appellees.
    No. 96-6879.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 24, 1996.Decided Oct. 9, 1996.
    
      Rahim E.H. Muhammad X, Appellant Pro Se.  Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia;  Mark Dudley Obenshain, WHARTON, ALDHIZER &amp; WEAVER, Harrisonburg, Virginia, for Appellees.
      W.D.Va.
      DISMISSED.
      Before MURNAGHAN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Rahim E.H. Muhammad X appeals from the district court's order continuing his 42 U.S.C. § 1983 (1994) action for ninety days and ordering him to exhaust inmate grievance procedures.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1994), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1994);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    